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February 8, 2020

The Honorable E. Richard Webber
111 S. 10" St. Suite 8. 192
St. Louis MO 63102

Dear Judge Webber, .

fam writing on behalf of Mr. John Rallo who is scheduled to appear before you -
early next month. | met Mr. Rallo and his wife three years ago as they were very
interested in their two children attending the school where | serve as academic

Principal. The children were accepted and now attend JF. Cosgriff Memorial
Catholic School.

Mr. Rallo has so kindly and with much interest.volunteered-his-time in-several- ~~

student, parent, community service activities including recess duty, library check
out, classroom editing, and drama stage assistant to name a few. He is genuinely
invested in the education of his son, John and daughter, Johanna and goes the

extra mile to support their education and character formation in and outside of
school. |

Mr. Rallo assists in coaching his children in sports or sits nervously on the sideline
cheering them on. He has not missed a parent teacher conference, science night,
school play, class project presentation etc. Mr. Rallo is a father who ‘makes
himself available and present for his family. He and his wie, Jaimie have also

made a concerted effort to provide and decorate the church for special church
holy days.

My professional work for the past twenty-five years has been an elementary,
middie school principal in the public and parochial schoal system. Before my

tenure as a school administrator, | taught special education in the public school
system in a lower socioeconomic setting

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J. COSGRIFE MEMORIAL CATHOLIC SCHOOL
 

 

 

 

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Over the years, | have learned that there is a very sad but common thread with a
students who performs poorly in school, who are habituafly tardy or absent, and
stand out because of behavioral and emotional issues. The thread is the lack of a
supportive and caring adult(s) in their fives. We need more grandparents,
coaches, teachers and parents who are physically present and invested for the
long haul. These VIP’s must have high but realistic expectations for our precious

children and believe there is no substitute for quality time spent with a child, or
grandchild.

Year after year as a teacher and administrator, the same themes are prevalent
with single parents and often two parent families. | am of the belief that children
develop self-confidence, independence and positive self-worth when a parent
expresses sincere interest and stands by them.

In place of possible incarceration, | firmly believe that Mr. John Rallo’s time would
be much better served by working with our troubled, at risk youth of today. The
young people who spend several hours per week after school and on week- ends
at the Boys and Girls Club, Shelter kids, Children’s Service Society, Family Support
etc. These young people would greatly benefit from a positive mentor with
homework, sports, and a listening ear. The greatest gift that can be given to
another person is ones time and attention. tn addition, Mr. Rallo is needed by his
own two children for his love and guidance.

If John Rallo must make retribution for a poor decision or past mistake, | hope and

pray that he will be able to serve his time by helping earth’s most precious
resource—our children.

Sincerely,

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Hust, Principal
J.E.Cosgriff Memorial Catholic Schoo}

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